‘Case 5:06-cr-00067-C- Document 31 Filed 02/22/07 & 1Lof6 PagelID.95.00
© aS. DISTRICT COURT
SORTHERN DISTRICT OF TEXAS
FILED
IN THE UNITED STATES DISTRICT COURT — 7
FOR THE NORTHERN DISTRICT OF TEXAS FEB q 9 NOT

LUBBOCK DIVISION

CLERK, U.S. DISTRICT COURT
By

UNITED STATES OF AMERICA

i Deputy

Vv. 5:06-CR-067-C

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JOSHUA HEATH ZUNIGA
PLEA AGREEMENT
a J OSHUA HEATH ZUNIGA, defendant, Mark Eiglarsh, the defendant's attorney,
and the United States of America (the government), agree as follows:
1. Rights of the defendant: Zuniga understands that he has the following
rights:
a. to plead not guilty;
b. to have a trial by jury;

c. to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in his
defense; and

e. against compelled self-incrimination.
2. Waiver of rights and plea of guilty: Zuniga waives these rights and
pleads guilty to the offense alleged in Count 8 of the indictment filed herein, charging a

violation of 18 U.S.C. § 2252A(a)(5)(B), that is, Possession of Child Pornography.

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Zuniga understands the nature and elements of the crime to which he is pleading guilty,
and agrees that the factual resume he has signed is true and will be submitted as evidence.
3. Sentence: The maximum penalties the Court can impose include:
a. imprisonment for a period of not more than ten years;
b. a fine not to exceed $250,000.00;
c. A term of supervised release, up to life, which follows a term of
imprisonment. If the defendant violates the conditions of supervised
release, he could be imprisoned and subject to additional terms of

supervised release and imprisonment as determined by the court in
accordance with law;

d. a mandatory special assessment of $100.00; and
e. costs of incarceration and supervision.
4. Sentencing guidelines: Zuniga has reviewed the application of the

guidelines with his attorney, but understands that the guidelines are advisory only and that
the Court is not obligated to apply the guidelines. Furthermore, no one can predict with
certainty what the advisory guideline range will be in this case until after a presentence
investigation has been completed. Under FED. R. CRIM. P. 11(c)(1)(B), the Government
and Zuniga agree and recommend to the Court that the following sentencing factors and
provisions of the Sentencing Guidelines apply in this case:

a. The November 5, 2005, version of the United States Sentencing
Guidelines (USSG) will be used to make sentencing guidelines calculations.

b. USSG § 2G2.1 will be used to determine the offense level, because the
cross-reference contained in USSG § 2G2.2 is applicable; the offense

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involved causing a minor to engage in sexually explicit conduct for the
purpose of producing a visual depiction of such conduct. The base offense
level is 32.

c. Under USSG § 2G2.1(b)(1), the offense involved a minor who had
attained the age of twelve years, but not attained the age of sixteen years,
requiring an increase of 2 levels.

d. Under USSG § 2G2.1(b)(2)(A), the offense involved the commission of
a sexual act or sexual contact, requiring an increase of 2 levels.

e. Under USSG § 2G2.1(b)(5), the defendant was a relative of the minor
involved in the offense, requiring an increase of 2 levels.

f. Based on the base offense level and the Specific Offense Characteristics,
the Total Offense Level is at least 38.

g. Under USSG § 3E1.1(a) and (b), the defendant's offense level should be
decreased by 3 levels based on his acceptance of responsibility in this case.

h. The Adjusted Offense Level in this case is at least 35, providing for a
range of punishment of at least 168 to 210 months. The statutory maximum
penalty for this conviction is 120 months.

5. Court’s discretion: Zuniga understands that this plea agreement does not
create a right to be sentenced within, or below, any particular guideline range, and fully
understands that determination of the advisory guideline range, as well as the actual
sentence imposed (so long as it is within the statutory maximum,) are solely in the
discretion of the Court.

6. Mandatory special assessment: Prior to sentencing, Zuniga agrees to pay

to the U.S. District Clerk the amount of $100.00, in satisfaction of the mandatory special

assessment in this case.

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7. Defendant's cooperation: Upon demand, Zuniga shall submit a personal
financial statement under oath and submit to interviews by the government and the U.S.
Probation Office regarding his capacity to satisfy any fines or restitution.

8. Government's agreement: The government will not bring any additional
charges against Zuniga based upon the conduct underlying and related to Zuniga’s plea of
guilty. The government will dismiss, after sentencing, any remaining charges in the
pending indictment. This agreement is limited to the United States Attorney's Office for
the Northern District of Texas, and does not bind any other federal, state, or local
prosecuting authorities, nor does it prohibit any civil or administrative proceeding against
Zuniga or any property.

9. Violation of agreement: Zuniga understands that if he violates any
provision of this agreement, or if his guilty plea is vacated or withdrawn, the government
will be free from any obligations of the agreement and free to prosecute Zuniga for all
offenses of which it has knowledge. In such event, Zuniga waives any objections based
upon delay in prosecution. If the plea is vacated or withdrawn for any reason other than a
finding that it was involuntary, Zuniga also waives objection to the use against him of any
information or statements he has provided to the government, and any resulting leads.

10. Voluntary plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

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agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

11. Waiver of right to appeal or otherwise challenge sentence: Zuniga
waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
his conviction and sentence. He further waives his right to contest his conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. §§ 2241 and
2255. Zuniga, however, reserves the right to bring (a) a direct appeal of a sentence
exceeding the statutory maximum punishment, and (b) a claim of ineffective assistance of
counsel.

12. Representation of counsel: Zuniga has thoroughly reviewed all legal and
factual aspects of this case with his lawyer(s) and is fully satisfied with the legal
representation provided by his lawyer(s). Zuniga has received from his lawyer(s)
explanations satisfactory to him concerning each paragraph of this plea agreement, each
of his rights affected by this agreement, and the alternatives available to him other than
entering into this agreement. Because he concedes that he is guilty, and after conferring
with his lawyer(s), Zuniga has concluded that it is in his best interest to enter into this
plea agreement and all its terms, rather than to proceed to trial in this case.

13. Entirety of agreement: This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.

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AGREED TO AND SIGNED this 2S "day of _ Fakpoary, _, 2008

RICHARD B. ROPER
ITED STATES ATTORNEY

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Defendant Assistant United States Attorney

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